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          SUR-REBUTTAL ANO SUPPLEMENTAL EXPERT REPORT BY
                       DR. ALAN C. WHITEHOUSE

A.      Qualifications.

        1.      I am Dr. Alan C. Whitehouse. My address is 28810 North Milan

Road, Chattaroy, WA 99003.

        2.      I am licensed in Washington and Montana. I am Board Certified

in pulmonology and internal medicine. I currently practice chest medicine at

the Center for Asbestos Related Disease (CARD) in Libby, Montana, where

we have over 1,800 active cases of asbestos disease from exposure to

Libby asbestos. I have practiced pulmonary medicine in Spokane,

Washington, from 1969 - 2004, and in Libby, Montana, from 2004 to date.

        3.      My curriculum vitae is attached as Exhibit 1.

        4.      In addition, I have been an invited speaker on the subject of

Libby asbestos disease at various locations across the country. See Exh. 1,

Invited Presentations on Asbestos Disease.

        5.      Since 1980 I have evaluated or treated over 700 patients for

asbestos disease from Libby asbestos. I have consulted with CARD

physicians on many others. Since 1980 I have also evaluated or treated

over 500 patients with asbestos disease from predominately chrysotile

exposures. I am in a position to compare asbestos disease from Libby

asbestos to asbestos disease from chrysotile asbestos. Chrysotile asbestos



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 is the usual form of asbestos used in building materials in the United States,

 accounting for about 95% of the total asbestos used in the United States.

 Fraser and Pare text, p.2420.

         6.       I have treated the entire range of pulmonary diseases. In my

 practice in Spokane in the years 1994-2004, the majority of my time,

 probably about 90%, was related to general chest diseases, including

 asthma, emphysema, lung cancer and the care of hospitalized patients.

 About 5-10% of my time was spent on asbestos related issues and other

 pneumoconioses. Probably about 10% of my time was related to industrial

disease. Currently I spend a small amount of time on legal matters, but for

the most part, my time is devoted to patient care and research.

         7.      In 30 years of practice I have probably testified at trial 10-15

times, about half for the plaintiff and half for the defendant. I testified in

three asbestos trials relating to exposure from the W.R. Grace mine and mill

near libby, and one trial on the same subject in Missoula, Montana.. These

trials related to asbestos disease from libby asbestos. In addition, my

deposition has been taken on the subject of asbestos disease probably 25-

30 times. I have testified in five Libby asbestos cases before the Montana

Workers' Compensation Court.

        8.       I have published a paper on asbestos disease in Libby, titled

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 "Asbestos-Related Pleural Disease Due to Tremolite Associated with

 Progressive loss of lung Function: Serial Observations in 123 Miners,

 Family Members, and Residents of libby, Montana," Am J Ind Med46:219-

 225 (2004). A copy of the paper is attached as Exhibit 2. 123 patients were

 followed for an average of 35 months. lung function was measured in

 terms of total lung capacity, forced vital capacity and diffusion capacity. The

 range of loss was 2-3% per year for each of these lung functions.

         9.      I have published a paper titled Whitehouse et al (2008),

"Environmental Exposure to libby Asbestos and Mesotheliomas." Eleven

cases are discussed. A copy of the paper is attached as Exhibit 3.

         10.     Over the last three decades I have practiced occupational

medicine.· I have performed studies for companies, done screenings for

companies and done disability exams for companies. In the 1980s I was

involved in multiple asbestos disease screening programs for companies.

have also done independent medical examinations for the State of

Washington Department of labor and Industry for decades.

B.      The mechanism for asbestos disease.

        11.      Asbestos is a mineral fiber. There are two kinds, serpentine

(chrysotile) and asbestiform amphiboles. Chrysotile asbestos is the kind

most often used commercially in building products. Chrysotile asbestos is

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 more curly, or more club-like, whereas amphibole asbestos is like tiny

 needles or spears. Libby asbestos is an amphibole. It has generally been

 referred to as tremolite. Using state of the art methodology, Meeker (2003),

 p.1959, has determined that the Libby asbestos is approximately 84%

 winchite, 11 % richterite and 6% tremolite. Meeker, Figure 6 shows the

 incidence and close chemical form relation as between winchite, tremolite

 and richterite. Meeker, p.1967, suggests that:

                 The Vermiculite Mountain amphibole asbestos
                 ,could, for the purposes of regulation only, be
                 considered equivalent to tremolite or soda-tremolite
                 asbestos in accordance with current and past
                 industrial terminology for the Vermiculite Mountain
                 amphiboles.

         12.     In relative terms of their length to width (aspect ratio), Libby

asbestos fibers are long and sharp, like needles. The fibers breathed in are

microscopic, as are the alveoli (tiny air sacs) in the lungs. When breathed in,

the fibers lodge in the structure around the alveoli, and are too small to be

expelled. Asbestos fibers irritate and infiame the lung tissue structure

around the air sacs (the interstitia). Scarring in the interstitia is interstitial

disease. When the interstitia are significantly scarred, they can no long

expand or contract fully, and breathing is restricted.

        13.     The amphibole fibers also migrate to the outside portion of the


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 lung, where they scar and inflame the pleura (the lung lining) and cause

 pleural disease. See the Frazer and Pare text, p.2809. Pleural disease seems

 particularly pronounced with Libby asbestos fibers.

          14.     The normal pleura is actually thinner than a blown up balloon. It

 is a very thin membrane, and it can expand like a balloon. Asbest6s fiber

 scarring causes the pleura to look much like the orange portion of an orange

 rind, and can be just as thick. When surgeons peel it off the pleura, they call

 it a rind. When the lung lining becomes as thick as an orange rind, it can no

 longer expand freely and breathing is restricted. Asbestos disease is

generally a restrictive lung disease.

C.       Diagnosis of Asbestos-Related Disease.

         15.     For the diagnosis of asbestos related disease, we use the criteria

ofthe American Thoracic Society (2004) Official Statement, "Diagnosis and

Initial Management of Non-malignant Diseases Related to Asbestos," Am J

Respir Crit Care Med, 170:691-715. Asbestos interstitial disease is due to

scarring in the lung structure around the alveoli (air sacs) from the poking

and inflammation from asbestos fibers. The asbestos pleural disease seen

in Libby is due to the scarring and inflamation in the pleura (the lung lining)

from asbestos fibers. The CARD Clinic generally uses "ARD" (aSbestos

related disease) to refer to non-malignant asbestos disease. Sometimes the

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 term "asbestosis" is used as an umbrella term, covering asbestos interstitial

 disease and asbestos pleural disease, since they are essentially the same

 disease process. The term would 'generally not be applied to a patient who

 has solely pleural plaques. The Rosenstock text, p.374, states: "Some

 investigators have used the term asbestosis to encompass non-malignant

, asbestos-related pleurarabnormalities." Examples of investigators

 sometimes using "asbestosis" to encompass pleural abnormalities include

 the insulators studies. See e.g., Markowitz et al (1997), Table 2, where cases

 with pleural abnormalities and cases with ILO readings of % and 0/1 are

 included in 'asbestosis" deaths. Horton et al (2006) publishes Libby ATSDR

data. At Table 1 'asbestosis" ICD·9 501 is used to refer to "known asbestos·

related diseases."

         16.     ATS Official Statement (2004) states the diagnostic criteria as

follows:

         Evidence of structural pathology consistent with asbestos-,
         related disease as documented by imag'ing or histology.

         Evidence of causation by asbestos as documented by the
         occupational and environmental history, markers of exposure
         (usually pleural plaques), recovery of asbestos bodies, or other
         means.

         Exclusion of alternative plausible causes for the findings.

        The ATS states that "the occupational history should emphasize

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 occupational and environmental opportunities for exposure that occurred

 about 15 years or more before presentation." Ruling out alternative causes·

 requires a physical examination.

         17.     I have taken hundreds of work histories relating to asbestos

 exposure at the W.R. Grace mine and mill near Libby, Montana, and am

 familiar with conditions in the various jobs there. I have also taken hundreds

 of histories of exposure from family members of workers and Libby

 community members.. Pathways for asbestos disease from Libby asbestos

 exposure are discussed at Peipins et al (2003). I have also evaluated

hundreds of patients concerned about asbestos disease from Libby

exposures, and have concluded that they do not have asbestos disease. For

scores of these same patients, I have diagnosed lung disease other than

asbestos disease.

        18.     Asbestos disease causes a restrictive defect. The amount of air

breathed in is restricted. The physical examination includes determinations

of chest restriction, the presence of rales (the crackling sound of scarred air

sacs reopening), and an evaluation of shortness of breath. While chest x- .

rays occasionally show abnormalities not seen on CT scan,chest x-rays

often miss parenchymal abnormalities of asbestosis seen on CT scan. See

the Fraser and Pare text, p.2431. Chest x-rays miss an even higher

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 percentage of pleural abnormalities, as compared to CT scans. Id., pp. 2431

 and 2440. ATS Official Statement (2004), p.696, states: "Only 50 to 80% of

 cases of documented pleural thickening demonstrated by autopsy,

 conventional CT or high resoltuion CT (HRCT) are detected by chest

 radiograph (42,43)." Frequently we see subpleural interstitial fibrosis on CT

 scans which is often not seen on chest x-ray, and which may playa

 significant role in the severity of the disease process. See the Schwarz and

 King text, p.422; ATS (2004) Official Statement,p.702.

         19.     At our clinic, lung function tests are performed in accordance

with ATS criteria. We generally use Knudson norms for vital capacity

(spirometry), Intermountain Thoracic Society for lung volumes, and Miller

for diffusion capacity. Crapo norms are used as required for AMA Guides

disability determinations. Abnormal values are under 80% of predicted or

over 120% of predicted.

         20. 'Pulmonary function tests are the measure of severity of asbestos

disease. The Rosenstock text, p.370, states: "Pulmonary function tests are

the most important tool for the functional assessment of non-malignant

asbestos-related effects." Of illilung function tests, the three most important

in asbestos diseas.e are forced vital capacity (FVC), total lung capacity (TLC)

and diffusion capacity (DLCO). The Fishman text, p.950, states "[t]he

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 characteristic pulmonary function changes of asbestosis are a restrictive

 impairment with a reduction in lung volumes (especially FVC and total lung

 capacity) decreased diffusion capacity, and arterial hypoxemia." ATS (2004)

 Official Statement, p.697 states: "Evaluation of subjects with suspected

 asbestos-related disease should include spirometry ... all lung volumes and

 carbon monoxide diffusion capacity." The AMA Guides to the Evaluation of

 Permanent Impairment (5'h Ed), p.107, "considers only pulmonary function

 measurements for an impairment rating. 11

         For the Libby patients generally one percent predicted number under

60 (FVC, TLC, or DLCO) indicates severe lung function loss, one number 60-

69 indicat'" moderate loss and one number 70-79 indicates mild loss. This

is consistent with ATS (1991) Lung Function Testing, Table 13 values for FVC

and TLC.

        21.      There are three components to pulmonary function tests. First is

spirometry, which measures the amount of volume· ofthe lung and the

rapidity of inhalation, which gives an index of air flow and lung volumes.

We usually do this before and after brochodilator.

        Second, we do lung volumes in what is called a body box, or

plethysmograph, where we measure very small changes in air flow,

pressure and volume, with a shutter and a closed system. Using Boyle's

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 law, one can calculate the volume of the lung.

         Third, we measure diffusion capacity, by having the patient breathe a

 small percentage of carbon monoxide, using very tiny tracer amounts of

 methane, which is not absorbed, and we measure what comes out of the

 lungs. We measure the methane, measure the carbon monoxide, and the

 differential uptake gives us the carbon monoxide diffusion capacity.

 Diffusion capacity is the efficiency of the lungs in transferring oxygen into

the blood stream. In restrictive lung disease there is interference with the

air/blood interface due to the increased scarring that forms a barrier

between the blood vessels and the alveoli (air sacs).

         22.    . When asbestos disease due to Libby asbestos exposure is first

diagnosable, there usually are no symptoms, only positive findings on chest

x-ray or CT. The disease may take decades to progress to a point of

severity. Severe disease may include shortness of breath, chest pain, rales,

c1ubbin·g of the fingernails, hypoxia, cor pulmonale, pleural effusions, and

oxygen dependency. See ATS (2004) Official Statement. At end stage the

patient is bedridden, oxygen dependent, and generally the hypoxia will lead

to organ malfunction and death.

D.      Pleural Disease Generally.

        23.      "Pleural plaques" are a lesion of the parietal pleura, typically

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 presenting circumscribed borders and a "raised straight surface with clear

 cut edges when seen face on." ATS (2004) Official Statement, p.704.

         24.     The ATS (2004) Official Statement, p. 705, literature review

 collects many studies showing that pleural plaques are associated with

 decrements in lung function:

         Studies of large cohorts have shown a significant reduction in
         lung function attributable to the plaques, averaging about 5% of
         FVC (forced vital capacity), even when interstitial fibrosis
         (asbestosis) is absent radiographically (74, 76, 107). The
         presence of circumscribed plaques can be associated with
         restrictive impairment and diminished diffiJsing capacity on
         pulmonary function testing, even in the absence of radiographic
         evidence of interstitial fibrosis (108, 109).

Textbook authors concur with the ATS (2004) Official Statement. Fishman's

Pulmonary Diseases and Disorders (4th Ed 2008), p.945, states: "pleural

disease has been recognized as the cause of reduced pulmonary function

since the 1970s." The Fishman text, p.945, notes studies showing pleural

plaques associated with decrements in FVC and·FEV,. Fraser and Pare's

Diagnosis of Diseases of the Chest (4th Ed. 1999). p.2446, states: "it has

become clear that asbestos related pleural disease can also affect lung

function adversely (718, 721, 737, 738). Both pleural plaques and diffuse

pleural thickening cause decreases in vital capacity, although the effects of

diffuse thickening are more marked." Rosenstock et ai, Textbook of Clinical,


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 Occupational and Environmental Medicine (2" Ed. 2005), p.372, states:

 "studies of asbestos exposed populations have variably observed small

 reductions in ventilation capacity associated with plaques."

         25.      Importantly, the ATS (2004) Official Statement, p.705, notes that

 in patients with pleural plaques, "decrements when they occur are probably

 related to early subclinical fibrosis." Schwartz (1990), p.321, concurs.

 Similarly, Whitehouse (2004), p.224, states: "pleural changes alone are

unlikely to cause a decrease in DLGO (diffusion capacity). DLGO decreases

are likely to be associated with interstitial disease not apparent clinically on

either plain chest radiograph or HRGT." Pleural plaques are associated with

losses of lung function, and are probably associated with subclinical fibrosis.



        26.      It is universally accepted that pleural plaques are markers of

asbestos exposure. ATS (2004) Official Statement, p.705 states: "the

presence of pleural plaques should be interpreted as a marker for elevated

risk of malignancy." With or without pleural plaques, "it is clear that an'

excess risk for pulmonary carcinoma exists in asbestos-exposed workers in

the absence of radiographic evidence of asbestosis." Fraser and Pare. text,

p.l075. The Rosenstock text, p.372, states: "piaques are also associated

with increased risk for the malignant outcomes of asbestos exposure,

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 including mesothelioma and lung cancer." Edge (1979). established that an

 asbestos exposure sufficient to cause pleural plaques is sufficient to cause

 mesothelioma.

         27.     An overwhelming majority in the Libby cohort have not only

 pleural plaques, but also diffuse pleural thickening, a more serious form of

 pleural disease. Serial observations of Libby miners over 30 years show

 many with pleural plaques showing on chest x-rays in the 1960s or 1970s,

then development of diffuse pleural thickening in the 1980s, then increasing

 lung function loss in the 1990s, with death in the 1990s or after 2000. See

CD "plaques to interstitial disease 3/12/09" for two examples.

         28.     Diffuse pleural thickening is pleural fibrosis, which is scarring

from an inflammatory process due to the presence of asbestos fibers. ATS

(2004) Official Statement, p.707 states: "Diffuse thickening ofthe visceral

pleura is not sharply demarcated, and is often associated with fibrous

strands "crowsfeet" extending into the parenchyma (lung structure) ...

Diffuse pleural fibrosis extends continuously over a portion of the visceral

pleura often causing adhesions to the parietal pleura." Page 707 also

describes three kinds of diffuse pleural thickening by origin: (1) DPT

"superimposed on circumscribed plaques," (2) DPT "after pleural effusion,"

and (3) DPT "caused by extension of interstitial fibrosis to the visceral pleura,

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 consistent with the pleural migration of asbestos fibers.'

         The Fishman text, p.946, states: "Diffuse pleural fibrosis occurs most

 commonly as part of a fibrotic process of the visceral pleura and

 subadjacent interstitium. It may occur, however, and be quite severe in

 patients with minimal pulmonary parenchymal fibrosis." This is true in the

 Libby cohort as well. Light and Lee, Textbook of Pleural Diseases, p.501,

 states: "Diffuse pleural thickening appears more closely related to

 amphibole than chrysotile exposure."

         29.     The ATS (2004) Official Statement, p.707, states: 'Decrements

associated with diffuse pleural thickening reflect pulmonary restriction as a

result of adhesions of the parietal with the visceral pleura. Restrictive

impairment is characteristic [meaning decreased vital capacity and

decreased lung volumes]."

        The Rosenstock text, p.373, states: "In contrast to the mild effect of

plaques on lung function, diffuse pleural thickening may result in more

significant restrictive respiratory impairment."

        Schwartz (1990), p.1932, states: "Sheet metal worker (subjects) with

diffuse pleural thickening had a lower forced vital capacity (p<O.OOl), total

lung capacity (p<O.Ol), and CO diffusing capacity of the lung (p<0.05) than

those with normal pleura.

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